Case 2:05-cr-20158-.]PI\/| Document 15 Filed 08/17/05 Page 1 of 2 Page|D 19

mar-o s %V`c.
UNITED STATES DISTRICT COURT h - ’ n D
WESTERN DISTRICT OF TENNESSEE []5 hug |'[ AH 9: |9
Western Division

UNITED STATES OF AMERICA

 

-VS..

ORLANDO DEMETRIUS PRIDE

 

ORDER OF DETENT|ON PENDlNG TR|AL
F|ND|NGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECT|ONS REGARDING DETENT|ON

ORLANDO DEMETRIUS PRIDE is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
sewing sentences or being held in custody pending appeal. ORLANDO DEMETRIUS PRIDE shall be afforded a
reasonable opportunity for private consultation with defense counsel. 011 order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant

to the United States marshal for the purpose of an appearance in W
Date: August 16, 2005 V/(

\ TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet in compliance
Wirn sole ss ana/or aztb) mch on “/

 

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20158 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. l3 l3

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

